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                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )          2:12cr221-MHT
                                                )                WO
MARK EDWARD ELLIOTT                             )
WILLIAM ELLIOTT                                 )
WENDELL GASKIN                                  )
WILLIE C. MOODY                                 )
WILLIAM CHRISTOPHER MOODY                       )
MARK ALLAN VINSON                               )

                              ORDER ON ARRAIGNMENT

      On March 27, 2013, the defendants, MARK EDWARD ELLIOTT, WILLIAM
ELLIOTT, WENDELL GASKIN, WILLIE C. MOODY, WILLIAM CHRISTOPHER
MOODY, and MARK ALLAN VINSON, appeared in person and in open court with counsel
and were arraigned in accordance with the provisions of Rule 10 of the Federal Rules of
Criminal Procedure.

       PLEA. The defendants entered pleas of NOT GUILTY. Counsel for the defendants
are requested to contact the U. S. Attorney immediately if the defendants intend to engage
in plea negotiations. If the defendants decide to change their pleas, the parties shall file a
notice of intent to plead guilty or otherwise notify the clerk’s office at or before the pretrial
conference and then this action will be set on a plea docket.

       PRELIMINARY SENTENCING GUIDELINES INFORMATION. The court no
longer requires the United States Probation Office to provide preliminary sentencing
guideline information to defendants. However, in difficult or complex cases defendants may
request the United States Probation Office to provide Sentencing Guideline calculation
assistance with the understanding that any estimate is tentative only and is not binding on the
United States Probation Office, the parties or the court. The court expects that requests for
Sentencing Guideline calculation assistance shall be the exception and that defendants will
not make such requests a matter of routine. A request for Sentencing Guideline calculation
assistance shall be made in writing to the supervisor of the Presentence Investigation Unit
of the United States Probation Office not later than 10 days from the date of this order. The
calculation shall be completed not later than one week before the pretrial conference.

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       PRETRIAL CONFERENCE. An initial pretrial conference is hereby set for
May 23, 2013, at 3:00 p.m. before Chief United States Magistrate Judge Susan Russ
Walker in Courtroom 5-B, Frank M. Johnson, Jr. Federal Building and United States
Courthouse Complex, One Church Street, Montgomery, Alabama. Not later than three
days prior to the date of the pretrial conference, counsel shall confer about the issues
and matters to be discussed at the pretrial conference as set forth in this order.
Counsel who want in-custody defendants to attend must notify the Magistrate Judge
within three days of the conference date so that an order to produce can be issued to the
United States Marshal.

       At the pretrial conference, defense counsel and counsel for the government shall
be fully prepared to discuss all pending motions, the status of discovery, possible
stipulations, and the estimated length of the trial. Defense counsel and counsel for the
government shall be fully prepared to provide a definite commitment as to the final
disposition of this case – by trial, plea or other non-trial disposition. If resolution of a
dispositive motion will affect the nature of this commitment, counsel must be fully
prepared to discuss this type of resolution. If the case is for plea, the notice of intent to
enter a plea should be filed at the time of the pretrial conference. If counsel require
additional time for plea negotiations, counsel should be prepared to inform the court
about the date when those negotiations will be completed.

        TRIAL. At arraignment, the parties agreed that due to the nature of this case, the
need for adequate time for discovery and the need for counsel to have adequate time for
trial preparation, the case should be set for trial before United States District Judge
Myron H. Thompson on the trial term beginning on September 9, 2013, in
Montgomery, Alabama, unless otherwise ordered by the court.

          In setting this case for trial on the term indicated above, the court recognizes that
the Speedy Trial Act places limits on the court’s discretion, and that under the act, the
trial of a defendant must commence within 70 days of the date of the indictment or the
date of the defendant’s first appearance before a judicial officer, whichever is later. 18
U.S.C. § 3161(c)(1). In determining whether a case should be set after the expiration of
the 70 day period, a court must consider among other factors “[w]hether the failure to [set
the case at a later date] ... would be likely to ... result in a miscarriage of justice.” 18
U.S.C. § 3161(h)(7)(B)(I). The court also must consider “whether the failure to grant such
a continuance ... would deny counsel for the defendant or the attorney for the government
the reasonable time necessary for effective preparation, taking into account the exercise
of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv). Based on the nature of this case, the
parties’ need for adequate time for discovery and the need for counsel to have adequate
time for trial preparation, the court finds that the ends of justice served by setting this case

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on this trial term outweigh the best interest of the public and the defendant in a speedy
trial.
       PRETRIAL MOTIONS. All pretrial motions under Fed. R. Crim. P. 12(b) and
(d), 14 and 16; all notices under Fed. R. Crim. P. 12.1, 12.2 and 12.3; and any motion to
compel pursuant to M.D. Ala. LCrR 16.1 Criminal Discovery (a copy of this Rule may
be found at http://www.almd.uscourts.gov/docs/lorules.pdf.) must be filed no later than
TWO DAYS BEFORE THE FIRST PRETRIAL CONFERENCE HELD IN THIS
CASE, except that if the pretrial conference falls on Monday, the deadline for filing
pretrial motions is always the preceding Wednesday. No motion filed after this date
will be considered unless filed with leave of court. A continuance of the pretrial
conference or trial does not extend the motions deadline. THE CONFERENCING
REQUIREMENT SET FORTH IN M.D. Ala. LCrR 16.1(c) CRIMINAL
DISCOVERY SHALL BE MET BEFORE THE COURT WILL CONSIDER ANY
DISCOVERY MOTION. THE COURT WILL DENY MOTIONS TO ADOPT
MOTIONS FILED BY OTHER DEFENDANTS.

       Motions to suppress must allege specific facts which, if proven, would provide a
basis of relief. This Court will summarily dismiss suppression motions which are
supported only by general conclusory assertions founded on mere suspicion or conjecture.
All grounds upon which the defendant relies must be specifically stated in the
motion in separately numbered paragraphs in a section of the motion which is
labeled “Issues Presented.” Grounds not stated in the “Issues Presented” section of
the motion will be deemed to have been waived. See generally United States v.
Richardson, 764F.2d 1514, 1526-27 (11th Cir. 1985).

      The government shall file a response to all motions filed by the defendant on or
before five days prior to the date set for a hearing on the motion or, if no hearing is
necessary, on or before ten days after the date of the pretrial conference.

       DISCOVERY. All discovery in this action shall be conducted according to the
requirements of M.D. Ala. LCrR 16.1 Criminal Discovery. Unless the government
provided initial disclosures to the defendant prior to or at arraignment, the government is
ORDERED to tender initial disclosure to the defendant on or before March 27, 2013.
Disclosures by the defendant, as required by M.D. Ala. LCrR 16.1(a)(4) shall be
provided on or before April 3, 2013.

      JENCKS ACT STATEMENTS. The government agrees to provide defense
counsel with all Jencks Act statements no later than the day scheduled for the



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commencement of the trial.1

       MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all
parties are ORDERED to appear at all future court proceedings in this criminal case.
Those attorneys who find it impossible to be in attendance (especially at the pretrial
conference, jury selection, or trial) must make arrangements to have substitute counsel
appear on behalf of their clients. Any attorney who appears as substitute counsel for a
defendant shall have full authorization from the defendant to act on his or her behalf and
be fully prepared to proceed. Substitute counsel shall not be counsel for a co-defendant
unless permitted by the court after proper motion. Any counsel who wishes to have
substitute counsel appear must obtain permission of the court in advance.

      NOTE: Except in extraordinary circumstances or circumstances in which the
Constitution would require it, the court will not entertain motions to withdraw filed
by counsel who appear at arraignment unless the motions are filed within seven
days of the date of this order. Failure to obtain fees from a client is not an
extraordinary circumstance.

       DONE, this 27th day of March, 2013.


                                       /s/ Susan Russ Walker
                                       SUSAN RUSS WALKER
                                       CHIEF UNITED STATES MAGISTRATE JUDGE




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           In certain complex cases, the government may agree to earlier production.

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